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              Exhibit D
Redacted version of the TGLP (Monumental)
   Agreement with the Lyric Opera House
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